Case 2:19-cr-00011-JPJ-PMS Document 56 Filed 12/06/21 Page 1 of 4 Pageid#: 462




               IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF VIRGINIA
                      BIG STONE GAP DIVISION

 UNITED STATES OF AMERICA                      )
                                               )
                                               )      Case No. 2:19CR00011
                                               )
 v.                                            )     OPINION AND ORDER
                                               )
 JEFFERY SCOTT SPICER,                         )       JUDGE JAMES P. JONES
                                               )
                  Defendant.                   )


      Lena L. Busscher, Assistant United States Attorney, Abingdon, Virginia, for
United States; Jeffery Scott Spicer, Pro Se.

      The defendant, a federal inmate sentenced by this court, has filed a motion to

reduce his sentence pursuant to 18 U.S.C. § 3582(c)(1)(A).        The government

opposes the motion. For the reasons stated, the defendant’s motion will be denied.

                                         I.

      The defendant, Jeffery Scott Spicer, pled guilty to a two-count Indictment,

pursuant to a plea agreement, to one count of embezzlement, in violation of 18

U.S.C. § 666(a)(1)(A) (Count 1), and one count of wire fraud, in violation of 18

U.S.C. § 1343 (Count 2). This court sentenced the defendant to 24 months of

incarceration on each count, to be served concurrently, followed by three years of

supervised release. He is currently incarcerated at FMC Fort Worth with a projected

release date of October 2, 2022.
Case 2:19-cr-00011-JPJ-PMS Document 56 Filed 12/06/21 Page 2 of 4 Pageid#: 463




      On August 27, 2021, Spicer filed a pro se letter motion seeking compassionate

release based on his need to care for his family, including his brother’s elderly

mother-in-law, and his health risk in prison from COVID-19. The court appointed

the Federal Public Defender to represent the defendant.        The Federal Public

Defender’s office gave notice to the court it would not represent the defendant.

Notice, Sept. 24, 2021, ECF No. 48. Thereafter, without response from the

government, the court denied the defendant’s motion on the ground that he had not

exhausted his administrative remedies. Order, Oct. 12, 2021, ECF No. 49.

      In response, the defendant filed a second pro se letter, urging this court to

again consider his health risks from COVID-19.         Following United States v.

Muhammad, 16 F.4th 126 (4th Cir. 2021), which held that a district court may not

dismiss such a motion sua sponte on a failure-to-exhaustion ground, I construed the

defendant’s letter as a motion to reconsider and ordered that the government file a

response. The government responded, contending first that the motion should be

denied because Spicer had failed to exhaust his administrative remedies, and, in any

event, he cannot show extraordinary and compelling circumstances warranting

compassionate release. No reply has been filed by Spicer within the time permitted.

The matter is now ripe for decision.




                                        -2-
Case 2:19-cr-00011-JPJ-PMS Document 56 Filed 12/06/21 Page 3 of 4 Pageid#: 464




                                         II.

      The compassionate release statute, as amended by the First Step Act of

2018, Pub. L. No. 115-391, § 603(b)(1), 132 Stat. 5194, 5239, authorizes courts to

modify a term of imprisonment either upon motion of the Bureau of Prisons (BOP)

Director “or upon motion of the defendant after the defendant has fully exhausted

all administrative rights to appeal a failure of the [BOP] to bring a motion on the

defendant’s behalf or the lapse of 30 days from the receipt of such a request by the

warden of the defendant's facility.” 18 U.S.C. § 3582(c)(1)(A); United States v.

Brewington, No. 2:12CR00009-007, 2019 WL 3317972, at *1 (W.D. Va. July 24,

2019). The government asserts that he has failed to exhaust available administrative

remedies prior to bringing a motion before this court.

      Here, the defendant has not produced any evidence that he exhausted his

administrative remedies as required by the Act. Accordingly, I will deny the motion

without prejudice. If he makes a request to the Warden of his facility and his request

is denied, or if the Warden does not respond to his request within 30 days, he may

refile his motion.

                                         III.

      It is ORDERED that the Motion for Release Pursuant to 18 U.S.C. §

3582(c)(1)(A), ECF No. 45, is DENIED.




                                         -3-
Case 2:19-cr-00011-JPJ-PMS Document 56 Filed 12/06/21 Page 4 of 4 Pageid#: 465




                                           ENTER: December 6, 2021

                                           /s/ JAMES P. JONES
                                           Senior United States District Judge




                                     -4-
